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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                          Case No.: 1:11-CR-22-SPM/GRJ-1

ALEXANDER MATEO-PEREZ,

              Defendant.

________________________________/

                            ACCEPTANCE OF GUILTY PLEA

        PURSUANT TO the Report and Recommendation (doc. 36) of the United States

Magistrate Judge, to which there have been no timely objections, and pursuant to

Federal Rule of Criminal Procedure 11, the plea of guilty of the Defendant,

ALEXANDER MATEO-PEREZ, to Count One of the indictment is hereby ACCEPTED.

All parties shall appear before this Court for sentencing as directed.

        DONE AND ORDERED this twenty-second day of July, 2011.

                                   s/StephanP.Mickl
                                                             s/ Stephan P. Mickle
                                                             Stephan P. Mickle
                                                             Senior United States District Judge
